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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:22-cv-07550-RGK-MAA Date July 25, 2023

Title Kumar, et al. v. Koester

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

Joseph Remigio (not present) Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendant:
Not Present Not Present
Proceedings: (IN CHAMBERS) Order Re: Defendant’s Motion for Judgement on the

Pleadings [DE 90]

I. INTRODUCTION

On February 28, 2023, Sunil Kumar and Praveen Sinha (collectively, “Plaintiffs”) filed a First
Amended Complaint (“FAC”) against Jolene Koester (“Defendant”) in her capacity as Chancellor of
California State University (“CSU”). (ECF No. 80.) Plaintiffs allege that CSU’s inclusion of the term
“caste” in its interim antidiscrimination policy (“Policy”) constitutes discrimination against people of
South Asian descent and practitioners of the Hindu faith. Plaintiffs allege the Policy violates numerous
provisions of both the federal and California constitutions.

Presently before the Court is Defendant’s Motion for Judgment on the Pleadings and Plaintiffs’
Cross-Motion for Judgment on the Pleadings. For the following reasons, the Court GRANTS
Defendant’s Motion in part and DENIES Plaintiffs’ Cross-Motion.

Il. FACTUAL BACKGROUND

Plaintiffs are CSU professors of South Asian descent and adherents to the Hindu faith. (FAC
| 16-18.) Furthermore, Plaintiffs hold “sincere religious belief[s] that neither caste nor a discriminatory
caste system are in any way part of the Hindu religion or its teachings.” (FAC § 18.)

On January 1, 2022, CSU instituted the Policy, which prohibits discrimination based on
“nationality, race or ethnicity (including color, caste or ancestry).” (FAC § 1.) According to Plaintiffs,
the Policy’s use of the term “caste” denotes “a strict Hindu social and religious hierarchy.” (FAC § 37.)
Thus, Plaintiffs argue, the Policy applies unevenly to Hindu practitioners and individuals of South Asian
descent. (FAC § 3, 5, 9, 37.) Specifically, Plaintiffs contend that the Policy violates multiple
Constitutional provisions. (FAC § 78, 91, 114, 128.) First, Plaintiffs claim that the Policy violates the
Equal Protection Clause because it promotes harmful racial and religious stereotypes. (Pls.” Opp’n 12,
ECF No. 91.) Second, Plaintiffs claim that the Policy violates the Free Exercise Clause by falsely

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associating caste discrimination with Hinduism, thus “exposing Plaintiffs’ sincere religious beliefs to
public ridicule.” (/d. 17-18.) Third, Plaintiffs contend that the Policy violates the Establishment Clause
by defining the Hindu religion as including a caste system. (Jd. 14.) Fourth, Plaintiffs allege that the
Policy violates the Due Process Clause because it is vague. (Jd. 10.) Plaintiffs contend the Policy fails to
define the term, which is not understandable to people of ordinary intelligence. (/d.) Plaintiffs also allege
the same violations of the California Constitution. (FAC §§ 100, 121, 138.)

In accordance with their other claims, Plaintiffs seek a declaratory judgment declaring that the
Policy’s reference to “caste” is unconstitutional and an injunction to prevent Defendant from enforcing
the “caste” provision. (FAC § 68.)

Ht. JUDICIAL STANDARD

A motion for judgment on the pleadings under Federal Rule of Civil Procedure (“Rule”) 12(c) is
“functionally identical” to a motion to dismiss for failure to state a claim under Rule 12(b)(6). Dworkin
v. Hustler Magazine, Inc., 867 F.2d 1188, 1192 (9th Cir. 1989). The same judicial standard applies to
motions brought under either rule. Cagasso v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1054 n.4
(9th Cir. 2011). The only significant difference is that a Rule 12(c) motion is brought after an answer
has been filed, but early enough not to delay trial, whereas a Rule 12(b)(6) motion must be filed before
an answer. Fed. R. Civ. P. 12(b)-(c).

In ruling on a Rule 12(c) motion, courts must assume the allegations in the challenged complaint
are true and must construe the complaint in the light most favorable to the non-moving party. Cahill v.
Liberty Mut. Ins. Co., 80 F.3d 336, 337-38 (9th Cir. 1996); Fleming v. Pickard, 581 F.3d 922, 925 (9th
Cir. 2009). A motion for judgment on the pleadings is “properly granted when, taking all the allegations
in the pleadings as true, the moving party is entitled to judgment as a matter of law.” Nelson v. City of
Irvine, 143 F.3d 1196, 1200 (9th Cir. 1998). Dismissal “is appropriate only where the complaint lacks a
cognizable legal theory or sufficient facts to support a cognizable legal theory.” Mendiondo v. Centinela
Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008).

IV. DISCUSSION

Defendant argues that none of Plaintiffs’ claims are justiciable, as their claims are unripe and
Plaintiffs lack standing. Furthermore, Defendant argues that, even if the claims are justiciable, Plaintiffs
have failed to properly plead their claims.

As to Defendant’s justiciability challenge, Article II limits the jurisdiction of federal courts to
cases and controversies. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). Two essential doctrines of
the Article III case or controversy requirement are standing and ripeness. DaimlerChrysler Corp. v.
Cuno, 547 U.S. 332, 352 (2006).

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For a plaintiff to establish Article III standing, he must establish that: (1) the plaintiff suffers
from an injury in fact stemming from a concrete and imminent invasion of a legally protected interest;
(2) the defendant’s behavior or actions caused the injury; and (3) the injury is likely “redressable” by a
favorable decision. Lujan, 504 U.S. at 560-61. Injury in fact, for purposes of Article III standing, is
established by a showing that an injury is “concrete and particularized and actual or imminent, not
conjectural or hypothetical.” Wakefield v. ViSalus, Inc., 51 F.4th 1109, 1117 (9th Cir. 2022) (quoting
Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016)) (internal quotation marks omitted). A threatened
future injury must be “certainly impending” and highly speculative fears that rely on a chain of
possibilities do not satisfy this requirement. Clapper v. Amnesty Int’l. USA, 568 U.S. 398, 409-410
(2013) (quoting Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)). Allegations of potential future harm
alone are also insufficient. Jd. at 409. Ripeness is often indistinguishable from the injury in fact
component of standing. Thomas v. Anchorage Equal Rts. Comm’n, 220 F.3d 1134, 1138 (9th Cir. 2000).

A plaintiff whose constitutional rights have not been violated may nevertheless bring a facial
challenge to a law that implicates the First Amendment without meeting the traditional injury in fact
requirement. Tennison v. Paulus, 144 F.3d 1285, 1287 (9th Cir. 1998). Under this relaxed standard, a
plaintiff has suffered an injury sufficient to establish standing if he argues that a policy burdens
protected First Amendment activity. See Real v. City of Long Beach, 852 F.3d 929, 933 (9th Cir. 2017)
(holding that an artist had standing to bring a First Amendment facial challenge to a zoning ordinance by
simply asserting that the ordinance restricted a protected activity). However, “the mere existence of a
proscriptive statute” is insufficient to assert a justiciable claim. Thomas, 220 F.3d at 1139. Instead, to
establish standing, a plaintiff must have a “concrete plan” to violate the relevant law or face a credible
threat of enforcement for its violation. /d. This relaxed standard for asserting a justiciable injury in fact
also applies to due process challenges implicating First Amendment interests. Arce v. Douglas, 793 F.3d
968, 987-88 (9th Cir. 2015).

The Court agrees that Plaintiffs do not have standing to assert their Equal Protection and Free
Exercise claims. However, Plaintiffs have standing and have adequately asserted their Establishment
Clause and Due Process claims. The court addresses each claim in turn.

A. Fourteenth Amendment and California Constitution Equal Protection Claims (Claims
Five and Six)

The Equal Protection Clause of the Fourteenth Amendment ensures that all individuals are
treated equally under a policy or law. City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439
(1985). Thus, an Equal Protection claim must allege that a defendant discriminated against a plaintiff on
the basis of a protected category, such as race, ethnicity, or religion. Jd. at 440; Hartmann v. Cal. Dep’t

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of Corr. & Rehab., 707 F.3d 1114, 1123 (9th Cir. 2013). Unlike First Amendment claims, claims under
the Equal Protection Clause are not entitled to a relaxed standing standard. See Citizens of Fair
Representation v. Padilla, 815 Fed. App’x 120, 123 (9th Cir. 2020) (holding that plaintiffs lacked
standing to assert an Equal Protection claim because they made only speculative and conclusory
allegations regarding unknown future actions); see also Lujan, 504 U.S. at 560-61.

Here, Plaintiffs argue the Policy violates the Equal Protection Clause for two reasons. Furst,
Plaintiffs contend the Policy impermissibly stigmatizes individuals of South Asian descent and Hindu
practitioners. Because the term “caste” is inextricably linked to those groups, Plaintiffs contend the
Policy promotes the stereotype that members of those groups practice a “racist and inhumane system of
discrimination and violence against others.” (Pl.’s Opp’n 12.) Second, Plaintiffs contend the policy
could be enforced unevenly, providing protection to some individuals but denying it to others.
Specifically, Plaintiffs contend the Policy protects individuals of Asian descent, but denies this same
protection to non-Asian individuals who experience discrimination on the basis of class or social status.
Neither injury is sufficient to establish standing.

Regarding the first alleged injury, abstract stigmatic injuries are insufficient to confer standing.
Allen v. Wright, 468 U.S. 737, 755 (1984). Instead, the injury of stigma “accords a basis for standing
only to those persons who are personally denied equal treatment by the challenged discriminatory
conduct.” Jd. (quoting Heckler v. Mathews, 465 U.S. 728, 239-40 (1984)) (internal quotation marks
omitted). Plaintiffs’ broad allegation that the Policy stigmatizes Hindu practitioners and individuals of
South Asian descent fails to meet this standard.

Plaintiffs’ second alleged injury—that the Policy provides insufficient protection to non-Asian
victims of class discrimination—fails for multiple reasons. First, Plaintiffs do not allege that they
personally would be denied protection under the Policy. Indeed, as individuals who identify as South
Asian, Plaintiffs are members of the very group they contend would unfairly benefit from the Policy.
Second, Plaintiffs do not allege that the Policy has already been enforced in a discriminatory manner.
Rather, Plaintiffs merely allege that the Policy is susceptible to uneven enforcement. This “conjectural
or hypothetical” injury is insufficient to confer standing. Wakefield, 51 F.4th at 1117.

Because Plaintiffs do not meet the injury in fact requirement, the Court need not address the
remaining standing requirements. Carro/l] v. Nakatani, 342 F.3d 934, 943 (9th Cir. 2003). Analysis of
California’s Equal Protection Clause is “substantially similar” to the analysis of the federal Equal
Protection Clause. RUT One Corp. v. City of Berkeley, 371 F.3d 1137, 1154 (9th Cir. 2004). Therefore,
Plaintiffs also lack standing to assert their state Equal Protection claim. Accordingly, the Court
GRANTS Defendant’s Motion with respect to the federal and state Equal Protection claims.

B. First Amendment Free Exercise and California Constitution’s No Preference Claims
(Claims Two and Four)

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The Free Exercise Clause prohibits any policy from “exert[ing] any restraint on the free exercise
of religion.” Sch. Dist. Of Abington Twp. v. Schempp, 374 U.S. 203, 222 (1963). Thus, a Free Exercise
challenge requires a plaintiff to allege that the government has burdened one of his religious practices or
operates against the practice of his religion. Jd.; Cal. Parents for the Equalization of Educ. Materials v.
Torlakson, 973 F.3d 1010, 1019 (9th Cir. 2020). Here, even assuming that Plaintiffs have met the
relaxed justiciability requirements for a First Amendment facial challenge, Plaintiffs emphatically
denounce the caste system and reject the notion that it is part of their religion. Thus, the Policy does not
threaten any of Plaintiffs’ rights to practice their religion. As such, Plaintiffs fail to state a proper Free
Exercise claim.

The Free Exercise Clause analysis is generally similar between the federal and California
constitutions. Vernon v. City of Los Angeles, 27 F.3d 1385, 1392 (9th Cir. 1994). Accordingly, the Court
GRANTS Defendant’s Motion with respect to the federal Free Exercise claim. Further, the Court
GRANTS Defendant’s Motion with respect to the free exercise portion of the California No Preference
claim.

C. First Amendment and California Constitution Establishment Clause Claims (Claims
Three and Four)

The Establishment Clause ensures that the government does not endorse a specific religion or
religious practice. Edwards v. Aguillard, 482 U.S. 578, 587 (1987) (citing Wallace v. Jaffree, 472 U.S.
38, 75 (1985)). Similarly, the Establishment Cause prohibits government favoritism of one religion over
another. Larson v. Valente, 456 U.S. 228, 244 (1982). Policies that are not neutral with respect to
religion violate this clause. McCreary Cnty. v. ACLU, 545 U.S. 844, 860 (2005). Although not entirely
clear, Plaintiffs appear to argue that the Policy treats Hinduism differently from other religions because
it defines Hinduism as including an inhumane and racist caste system. Defendant argues that: (1)
Plaintiffs lack standing and (2) the claims fail because the Policy is neutral towards religion.

1. Standing

A plaintiff has standing to assert a violation of the Establishment Clause if he suffers a concrete,
personal injury as a result of an alleged constitutional violation. Cath. League for Religious and C.R. v.
City and Cnty. of San Francisco, 624 F.3d 1043, 1051 (9th Cir. 2010). Here, Plaintiffs have standing to
assert their Establishment Clause claim. First, Plaintiffs demonstrate an injury in fact, as they plausibly
allege that the Policy stigmatizes Hinduism. Furthermore, Plaintiffs’ injuries are concrete and personal
as they are CSU employees and practitioners of the Hindu faith. Second, Plaintiffs have alleged a
sufficient causal connection between the Policy and their injury as the inclusion of the term “caste” is
the source of their injury. Third, the injury is redressable because either removing the term or replacing

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it with “class” or “social status” as Plaintiffs suggest would remove the Policy’s alleged references to
religion. (Pl.’s Opp’n 15.)

2. Adequacy of the Claims

Defendant also challenges Plaintiffs’ Establishment Clause claim by asserting that, even if
Plaintiffs have standing, CSU has not violated the Establishment Clause. The Court disagrees.

To evaluate the merits of an Establishment Clause claim, a court must reference historical
practices and understandings. Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407, 2428 (2022). A
government practice that unevenly impacts religion may nevertheless be constitutional if it is supported
by history and tradition. Jd.; see also Am. Legion v. Am. Humanist Ass’n, 139 S. Ct. 2067, 2089 (2019)
(upholding the use of religious symbolism in World War II memorials); Town of Greece v. Galloway,
572 U.S. 565, 591 (2014) (upholding the practice of praying before legislative sessions). Defendant
contends that inclusion of the term “caste” is supported by a long history and tradition of disallowing
racial discrimination in schools. While Defendant is correct that there is a long history of preventing
racial discrimination in education, Defendant has not adequately demonstrated that there is a history or
tradition of incorporating words with religious connotations to curb racial discrimination. Therefore,
Defendant has failed to demonstrate that implicating Hinduism through the Policy’s inclusion of the
term “caste” is supported by history and tradition.

The Court does not need to separately analyze Plaintiffs’ state Establishment Clause claim
because the federal and state clauses are similar in nature. Barnes-Wallace v. City of San Diego, 704
F.3d 1067, 1082 (9th Cir. 2012); see also E. Bay Asian Local Dev. Corp. v. California, 24 Cal. 4th 693,
718 (2000) (holding that California’s Establishment Clause coincides with the intent and purpose of the
First Amendment’s Establishment Clause). Thus, Plaintiffs’ state Establishment Clause claim survives
as well. Accordingly, the Court DENIES Defendant’s Motion with respect to the federal and state
Establishment Clause claims.

D. Fourteenth Amendment Due Process Claim (Claims Seven and Eight)

The void for vagueness doctrine stems from the Due Process Clause and serves two primary
purposes: (1) it guarantees that ordinary people have fair notice of the conduct a policy proscribes; and
(2) it guards against arbitrary or discriminatory enforcement of polices. Sessions v. Dimaya, 138 S. Ct.
1204, 1212 (2018). In the First Amendment context, a vague policy threatens Due Process rights
because “uncertain meanings inevitably lead individuals to steer far wider of potentially prohibited
speech than they would if the meaning of the policy was clear.” Grayned v. City of Rockford, 408 U.S.
104, 108 (1972) (quoting Bagger v. Bullitt, 377 U.S. 360, 372 (1964)) (internal citations omitted).

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Plaintiffs contend the Policy amounts to a Due Process violation because the term “caste” is
unconstitutionally vague. Specifically, Plaintiffs argue that Defendant fails to provide proper notice to
students and employees of what “caste” discrimination is and how to properly address it. Furthermore,
Plaintiffs contend that several sources!—including the dictionary Defendant urges the Court to
consult—define “caste” as a part of Hinduism. Defendant argues that Plaintiffs lack standing. Further,
Defendant contends that even if standing exists, the vagueness claim fails because people of ordinary
intelligence are likely to understand the meaning of “caste” and anyone unfamiliar with the term may
easily look up the definition.

1. Standing

First, the Court disagrees with Defendant regarding standing. Because Plaintiffs’ Due Process
challenge implicates their First Amendment rights, they are entitled to a relaxed injury in fact
requirement. Arce, 793 F.3d at 987-88. Therefore, Plaintiffs have adequately asserted an injury because
they have adequately alleged that the word “caste” is susceptible to numerous meanings, rendering the
Policy vague. In fact, Defendant also argues that there are many definitions of “caste,” and urges the
Court to consider them with respect to Plaintiffs’ Establishment Clause claim. As with the Establishment
Clause claim, the causation and redressability prongs are also satisfied.

2. Adequacy of the Claims

Moreover, the Court disagrees with Defendant’s argument regarding the definition of “caste.”
Defendant and Plaintiffs raise plausible arguments about the operating definition of “caste,” which
prevents the Court from making a definitive judgment on the issue at this stage. Accordingly, the Court
declines to dismiss the claim on these grounds.

Defendant does not argue that California Due Process standards are materially different from
federal standards. Therefore, the Court need not conduct a separate analysis of the state claim.

Accordingly, the Court DENIES the Motion with respect to the state and federal Due Process claims.

E. Declaratory Judgment (Claim One)

1 Defendant asks the Court to take judicial notice of materials in support of its position that the term “caste” has multiple
definitions. (ECF No. 90-1.) However, the Court reached its conclusion relying on the Motion, Opposition, and Reply.
Defendant’s request for judicial notice is therefore DENIED AS MOOT.

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Under the Declaratory Judgment Act, courts “may declare the rights and other legal relations of
any interested party seeking such declaration.” 28 U.S.C. § 2201(a). Because Plaintiffs’ declaratory
judgment claim is derivative of the other claims in this suit and Plaintiffs have sufficiently pleaded
multiple claims, the Court DENIES Defendant’s Motion with respect to the declaratory judgment claim.

F. Plaintiffs’ Cross-Motion for Judgement on the Pleadings

Plaintiffs state in their introduction that they are entitled to judgment on the pleadings but make
no additional arguments as to why their position is warranted. Accordingly, the Court DENIES
Plaintiffs’ Cross-Motion.

V. CONCLUSION

For the foregoing reasons, the Court GRANTS Defendant’s Motion in part. Accordingly, the
Court DISMISSES Plaintiffs’ Equal Protection and Free Exercise claims and their state equivalents.
The Court DENIES the Motion with respect to all other claims.

IT IS SO ORDERED.

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